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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION


 THE STATE OF TEXAS,

                       Plaintiff,
     v.                                               No. 3:21-cv-309

 JOSEPH R. BIDEN, et al.,

                       Defendants.


                               NOTICE OF WITHDRAWAL
       The undersigned attorney, Kristin A. Taylor of the United States Department of

Justice, Civil Division, Federal Programs Branch (“Branch”), hereby withdraws as counsel for

Defendants in the above-captioned case. The undersigned is leaving the Branch, her last day

with that office being April 15, 2022. Madeline M. McMahon remains the lead attorney for

this matter.

       Dated: April 13, 2022                     Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney
                                                   General

                                                 BRAD P. ROSENBERG
                                                 Assistant Branch Director

                                                 /s/ Kristin A. Taylor________
                                                 KRISTIN A. TAYLOR
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                                     Attorney for Defendants




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                             CERTIFICATE OF SERVICE
       On April 13, 2022, I electronically submitted this document to the clerk of court of the

U.S. District Court for the Western District of Oklahoma using the court’s electronic case

filing system. I certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                  /s/ Kristin A. Taylor________
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